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                  IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                CHAPTER 13 CASE NO.:

DANNY WARREN                                                                      19-12944-JDW

       OBJECTION TO CONFIRMATION OF FIRST AMENDED PLAN (DKT. #32)

        COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) Meeting of Creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation of First

Amended Plan (the “Objection”), and in support thereof states as follows:

        1.     The Debtor commenced this proceeding by filing a Voluntary Petition on July 24,

2019 (the “Petition Date”). The Debtor filed a proposed First Amended Chapter 13 Plan (Dkt.

#32) (the “Plan”) on October 25, 2019.

        2.     The Debtor is below median income and the proposed term of the Plan is sixty (60)

months. The Plan does not provide for a distribution to nonpriority unsecured creditors. The

liquidation value in Section 5.1 of the Plan is zero (0).

        3.     Section 3.2 of the Plan fails to comply with 11 U.S.C. § 1325(a)(1). The Debtor

failed to properly provide for the secured claim of Mississippi Department of Revenue (“MDOR”)

be paid the statutory rate of interest of six percent (6%) by referring to the provision in Section

8.1.

        4.     The Plan fails to comply with 11 U.S.C. § 1325(a)(6) because the Plan is not

feasible. The Debtor has failed to fully fund the Plan and is $2,262.50 delinquent in plan payments

through October 2019.       Plan payments continue to accrue at the rate of $2,515.50 monthly

thereafter.




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       5.      The Plan fails to comply with 11 U.S.C. § 1325(a)(1). Section 3.1(a) of the Plan

provides that the ongoing mortgage payments shall be paid beginning in November 2019 to Chase

Mortgage (“Chase”).     However, the Plan will not be sufficiently funded to allow for the

disbursement to Chase and all other creditors at confirmation due to the delinquency in plan

payments.

       6.      The Debtor should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

       7.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: November 5, 2019.

                                      Respectfully submitted,

                                      LOCKE D. BARKLEY
                                      CHAPTER 13 TRUSTEE

                              BY:     /s/ Melanie T. Vardaman
                                      ATTORNEYS FOR TRUSTEE
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: November 5, 2019.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




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